                      Case 4:10-cr-00213-JLH Document 105 Filed 03/11/13 Page 1 of 6
 A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 1
                                                                                                                                                                            O.~fSTRICT COURT
                                                                                                                                                                        EASTERN DISTRICT ARKANSAS
                                      UNITED STATES DISTRICT COURT
                                                                                                                                                                                 MAR 11 2013
                                                        Eastern District of Arka~sas                                                     . .              JA~E~~~
          UNITED STATES OF AMERICA                                                           Judgment m a Crtmmal ~se                                                                      ~
                               v.                                                             (For Revocation of Probation or Supervised Release)


       JOHNATHAN WILLIAM WILSON                                                               Case No.                         4:10CR00213-03 JLH
                                                                                             USMNo.                            26091-009
                                                                                                                                              Danny W. Glover
                                                                                                                                              Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)          _,S;;.tp;;.::e;.:;c:::ia::.:l;._,S;:..:t::;:;an::.:d:::;a~rd:::;i,_;G=en::.:e::.:;.r:::;al"--- of the term of supervision.

D was found in violation of condition(s)                - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                                                                                    Violation Ended
Special (1)                    Failure to attend substance abuse treatment as directed                                                                               December 20, 2012
General                        Unlawful use of a controlled substance                                                                                                January 3, 2013
Standard (2)                   Failure to submit monthly report to probation officer as directed                                                                     December 2012
Standard (5)                   Failure to regularly work at a lawful occupation                                                                                      September 13, 2012
Special (2)                    Failure to make restitution payments as directed                                                                                      January 2013
Special (3)                    Failure to participate in mental health counseling as directed                                                                        November 28, 2012

       The defendant is sentenced as provided in pages 2 through -~6;:___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pai_d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econonuc cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0909                                                                                            March 11, 2013

Defendant's Year ofBirth:           1988

City and State of Defendant's Residence:
              North Little Rock, Arkansas
                                                                                                           I. Leon Holmes, United States Djstrjct Judge
                                                                                                                                          Name and Title of Judge

                                                                                                                                               March 11, 2013
                                                                                                                                                             Date
                    Case 4:10-cr-00213-JLH Document 105 Filed 03/11/13 Page 2 of 6
AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 2- Imprisonment

                                                                                             Judgment- Page      2     of     6
DEFENDANT:                   JOHNATHAN WILLIAM WILSON
CASE NUMBER:                 4:10CR00210-03 JLH


                                                               IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

                                                            NINE (9) MONTHS


    X The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends defendant participate in nonresidential substance abuse treatment during
        incarceration.


   X    The defendant is remanded to the custody of the United States Marshal.

   0    The defendant shall surrender to the United States Marshal for this district:
        0    at  - - - - - - - - - 0 a.m.                       0      p.m.    on
        0    as notified by the United States Marshal.

   0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        0    before 2 p.m. on
        0    as notified by the United States Marshal.
       0     as notified by the Probation or Pretrial Services Office.

                                                                       RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                        to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                              By ------------------~--~~~~-------
                                                                                       DEPUTY UNITED STATES MARSHAL
                     Case 4:10-cr-00213-JLH Document 105 Filed 03/11/13 Page 3 of 6
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
                                                                                                  Judgment-Page _ _
                                                                                                                  3_      of           6
DEFENDANT:                 JOHNATHAN WILLIAM WILSON
CASE NUMBER:               4:10CR00213-03 JLH
                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a

                                                                ONE (1) YEAR

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully pqssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submtt to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
0     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
0     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
0     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
    . . The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
condtttons on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          offtcer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notificatiOn requirement.
                   Case 4:10-cr-00213-JLH Document 105 Filed 03/11/13 Page 4 of 6
AO 2450   (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet 3B - Supervised Release
                                                                                Judgment-Page _ 4 _ of      6
DEFENDANT:               JOHNATHAN WILLIAM WILSON
CASE NUMBER:             4: 10CR00213-03 JLH

                             ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

14) All general and standard conditions previously imposed remain in full force and effect.
15) The defendant must participate under the guidance and supervision of the U.S. Probation Office, in a
substance abuse treatment program which may include testing, outpatient counseling, and residential
treatment. The defendant must abstain from the use of alcohol throughout the course of treatment.
16) The defendant must disclose financial information upon request of the U.S. Probation Office, including,
but not limited to loans, lines of credit, and tax returns. This also includes records of any business with which
the defendant is associated. No new lines of credit will be established without prior approval of the U.S.
Probation Office until all criminal penalties have been satisfied.
                   Case 4:10-cr-00213-JLH Document 105 Filed 03/11/13 Page 5 of 6
AO 2450    (Rev. 09111) Judgment in a Criminal Case for Revocations
           Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment- Page _   _.:.5_ _   of   6
DEFENDANT:                   JOHNATHAN WILLIAM WILSON
CASE NUMBER:                 4:10CR00213-03 JLH
                                        CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                     Assessment                                         Fine                             Restitution
TOTALS         $     0                                                 $0                              $ 6,611.01- REIMPOSED


D   The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States 1s paid.

Name of Payee                                Total Loss*                         Restitution Ordered             Priority or Percentage




TOTALS                              $ ___________~0~                           $ _____________~0~


D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - -

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X    the interest requirement is waived for the          D fine        X   restitution.

     D the interest requirement for the           D    fine       D restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before Apnl23, 1996.
                    Case 4:10-cr-00213-JLH Document 105 Filed 03/11/13 Page 6 of 6
AO 245D     (Rev. 09/1 I) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments
                                                                                                   Judgment- Page _ _
                                                                                                                    6 _ of             6
DEFENDANT:                 JOHNATHAN WILLIAM WILSON
CASE NUMBER:               4:10CR00213-03 JLH

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     0    Lump sum payment of$ - - - - - - - due immediately, balance due

           0   not later than                                           , or
           0   in accordance with        0    C,     0     D,      0 E,or      0 F below); or
B     0    Payment to begin immediately (may be combined with                  0 C,     0 D, or   0 F below); or
C     0    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    X    Special instructions regarding the payment of criminal monetary penalties:
          During incarceration, the defendant will pay 50 percent per month of all funds that are available
          to him. During community confinement placement, payments will be reduced to 10 percent of
          the defendant's gross monthly income. Beginning the first month of supervised release,
          payments will be 10 percent per month of the defendant's monthly gross income. The interest
          requirement is waived.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes
imprisonment, payment of criminal monetary penalties is due during the period of imprisonment. All criminal
monetary r.enalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties




0    Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several
     Amount and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.
0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
